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                                    In the United States District Court
                           for the Southern District of Texas, Houston Division

    Lewis Brisbois Bisgaard & Smith,
       LLP,
              Plaintiff,                                                              4:22-cv-3279
                                                                   Civil Action No. ___________
        v.
    Michael Joseph Bitgood a/k/a “Michael                          Jury Demanded
       Easton,” et al.
              Defendants.

                            Lewis Brisbois Bisgaard & Smith, LLP’s
                    Original Complaint and Application for Injunctive Relief

             Plaintiff, Lewis Brisbois Bisgaard & Smith, LLP 1 sues Defendants Michael Joseph

Bitgood a/k/a “Michael Easton,” Richard P. Jones, Susan C. Norman, Bradley B. Beers,

and the Texas entity known as “Lewis Brisbois Bisgaard & Smith, LLP,” 2 for trademark

and trade name infringement, and unfair competition in violation of the Trademark Act of

1946, 15 U.S.C. §1051, et seq., as amended (the “Lanham Act”), and related claims arising

under Texas law.

             In addition to claims for actual and statutory damages, Lewis Brisbois is entitled to

a temporary restraining order, and preliminary and permanent injunctive relief against

Bitgood and the Bitgood Entity. In support, Lewis Brisbois respectfully shows the

following:




1
    Plaintiff Lewis Brisbois Bisgaard & Smith, LLP refers to itself as “Lewis Brisbois.”
2
 As set forth infra, on May 26, 2022, Bitgood and Beers unlawfully registered as a domestic limited liability
partnership an entity known as “Lewis Brisbois Bisgaard & Smith, LLP.” To avoid confusion with Plaintiff
Lewis Brisbois, Lewis Brisbois refers to the entity Bitgood registered as the “Bitgood Entity.”



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                                                     Parties

1.         Plaintiff, Lewis Brisbois Bisgaard & Smith, LLP is a California limited liability

partnership licensed to conduct business in the State of Texas. Lewis Brisbois’s principal

office is located at 633 W. 5th Street, Suite 4000, Los Angeles, California 90071.

2.         Defendant, Michael Joseph Bitgood a/k/a “Michael Easton” is an individual

residing in Richmond, Texas. Bitgood may be served at his residence, 510 Little River

Court, Richmond, Texas 77406, or wherever he may be found. 3

3.         Defendant, Richard P. Jones is an individual residing in Sugar Land, Texas. Jones

may be served at his residence, 2 Stadium Drive, Apt. 5306, Sugar Land, Texas 77498, or

wherever he may be found.

4.         Defendant, Susan C. Norman is an individual residing in Houston, Texas. Ms.

Norman may be served at her residence, 5826 Green Falls Drive, Houston, Texas 77088,

or wherever she may be found. 4

5.         Defendant, Bradley “Brad” Beers is an individual residing in Spring, Texas. Mr.

Beers may be served at his residence, 23 Glenleigh Place, Spring, Texas 77381, his place

of work, 5020 Montrose Boulevard, Suite 700, Houston, Texas 77006, or wherever he may

be found. 5

6.         Defendant, “Lewis Brisbois Bisgaard & Smith, LLP,” the “Bitgood Entity,” is a

domestic limited liability partnership. The Bitgood Entity may be served through its

president, Michael Bitgood at 503 FM 359-130, Suite 116, Richmond, Texas 77406, 510




3
    Although Bitgood often acts as if he is an attorney, Bitgood is not licensed to practice law.
4
    Ms. Norman is an attorney licensed to practice law in the State of Texas, Texas Bar No. 15083020.
5
    Mr. Beers is an attorney licensed to practice law in the State of Texas, Texas Bar No. 24121907.



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Little River Court, Richmond, Texas 77406, or its vice president, Ms. Norman at 5826

Green Falls Drive, Houston, Texas 77088. 6

                                          Jurisdiction and Venue

7.         This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1338, and 15

U.S.C. § 1121 because this dispute arises from Defendants’ violations of the Lanham Act,

15 U.S.C. §§1114 and 1125(a). This Court has supplemental jurisdiction under 28

U.S.C. § 1367 over Lewis Brisbois’s claims arising under Texas law.

8.         Venue is proper in this district under 28 U.S.C. §1391(b) because Defendants reside

in this district and because a substantial part of the events or omissions giving rise to Lewis

Brisbois’s claims occurred in this district.

                                      Relevant Factual Background

9.         Now one of the largest law firms in the United States, Plaintiff Lewis Brisbois

formed under California law as “Lewis D’Amato, Brisbois & Bisgaard” in 1979. Since

2002, Lewis Brisbois has been known as “Lewis Brisbois Bisgaard & Smith, LLP.” In

addition to conducting business as “Lewis Brisbois Bisgaard & Smith, LLP,” Lewis

Brisbois conducts business and has continuously conducted business using shortened or

abbreviated versions of its name including, but not limited to “Lewis Brisbois Bisgaard &

Smith,” “Lewis Brisbois,” and “LBBS,”

10.        Lewis Brisbois currently employs more than 1,600 lawyers across the United States

in over 50 offices, including offices in Houston, Texas and Dallas, Texas. Over the past 20

years, Lewis Brisbois has developed its national goodwill and reputation through extensive

labor, skill, and monetary expense.


6
    The Bitgood Entity has not listed a registered agent with the Office of the Secretary of State of Texas.



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11.        Lewis Brisbois is the owner and senior user of the word marks “LEWIS BRISBOIS

BISGAARD & SMITH LLP,” “LEWIS BRISBOIS BISGAARD & SMITH,” and “LEWIS

BRISBOIS,” which Lewis Brisbois has used in commerce since at least 2002.

12.        From 2009 to 2020, Lewis Brisbois owned the registered servicemark, “LEWIS

BRISBOIS BISGAARD & SMITH,” depicted below, of which Lewis Brisbois remains the

owner and senior user.




                                                                                 7



13.        Lewis Brisbois is also the owner and senior user of the registered service marks

“LB” and “LB LEWIS BRISBOIS,” depicted below.




                           8


                                                   9


14.        Lewis Brisbois first used the “LB” and “LB Lewis Brisbois” service marks in

commerce on June 6, 2016.




7
    Exhibit 1, LEWIS BRISBOIS BISGAARD & SMITH, Registration No. 3,722,172.
8
    Exhibit 2, LB, Registration No. 5,151,123.
9
    Exhibit 3, LB LEWIS BRISBOIS, Registration No. 5,151,128.



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15.        As a foreign limited liability partnership doing business in Texas, Lewis Brisbois

is and has been registered with the Office of the Secretary of State of Texas. 10 Lewis

Brisbois has a current registration to conduct business in the State of Texas effective March

28, 2022, prior to Defendants’ infringing acts described infra.

16.        As a registered foreign limited liability partnership, Lewis Brisbois “enjoys the

same but no greater rights and privileges as [a] domestic [limited liability partnership],”11

including, among other things, to “sue … in the entity’s business name” and to “conduct

its business, locate its offices, and exercise the powers granted by this code to further its

purposes, in or out of this state.” 12

                                                       ---

17.        On January 7, 2022, Defendants Michael Joseph Bitgood a/k/a “Michael Easton”

and Richard P. Jones sued Karina Martinez, Mariana Sullivan, Imperial Lofts, LLC in

Texas state district court alleging, in pertinent part, that Martinez, Sullivan, and Imperial

Lofts had improperly charged rental fees and filed eviction petitions against Bitgood and

Jones. 13 Bitgood appeared pro se and Defendant Susan Norman appeared as attorney-of-

record for Jones.

18.        The defendants in that action retained Lewis Brisbois to defend against Bitgood

and Jones’s claims. On March 11, 2022, Lewis Brisbois filed an answer of behalf of the

underlying defendants. David A. Oubre of Lewis Brisbois’s Houston office appeared as

attorney-of-record and lead counsel for the defendants in the Imperial Lofts case.


10
     Exhibit 4, Registration of a Foreign Limited Liability Partnership, dated March 28, 2022.
11
     Tex. Bus. Orgs. Code § 9.202.
12
     Tex. Bus. Orgs. Code § 2.101.
13
   See Cause No. 22-CCV-070378, Jones, et al. v. Martinez, et al., in the County Court at Law No. 3 of Fort
Bend County, Texas (the “Imperial Lofts case”).



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19.         Unbeknownst to Lewis Brisbois and certainly without Lewis Brisbois’s

authorization or permission, on May 2, 2022, Bitgood and Ms. Norman filed a sworn and

notarized assumed name certificate for certain unincorporated persons for a business

named “Lewis Brisbois Bisgaard & Smith” in the Office of the County Clerk, Fort Bend

County, Texas. 14 Bitgood and Ms. Norman identified the registrant as an “individual” and

“further state[d] that this registrant is not a limited partnership, limited liability company,

limited liability partnership, or foreign filing entity.” 15

20.         Further compounding their infringement, on May 26, 2022, Bitgood filed a

registration for a domestic limited liability partnership Bitgood named “Lewis Brisbois

Bisgaard & Smith, LLP” in the Office of the Secretary of State of Texas. 16 Bitgood listed

the street address for the Bitgood Entity as 503 FM 359-130, Suite 116, Richmond, Texas

77406 and identified the Bitgood Entity’s business as “mediation and related services.”17

Bitgood electronically signed the registration “subject to the penalties imposed by law for

the submission of a materially false or fraudulent instrument.” 18

21.         On June 1, 2022, Defendant Brad Beers, acting in the capacity of attorney-in-fact

of the Bitgood Entity, filed an assumed name certificate in the Office of the Secretary of

State. 19 The certificate identified the Bitgood Entity’s assumed name as “Lewis Brisbois

Bisgaard & Smith.” Mr. Beers electronically signed the assumed name certificate “subject




14
     Exhibit 5, 3d Am. Pet. at its Exhibit A (pdf p. 14-15).
15
     Id. (emphasis in original).
16
     Exhibit 6, Registration of a Limited Liability Partnership, dated May 26, 2022.
17
     Id.
18
     Id.
19
     Exhibit 7, Assumed Name Certificate, dated June 1, 2022.



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to the penalties imposed by law for the submission of a materially false or fraudulent

instrument.” 20

22.        On June 15, 2022, Bitgood and Jones filed their third amended petition in the

Imperial Lofts case to add the Bitgood Entity as a plaintiff and to add Mr. Oubre as a

defendant. 21 In addition to appearing as Jones’s counsel, Ms. Norman appeared as counsel

for the Bitgood Entity. Bitgood and Mr. Norman attached as exhibits to the third amended

petition the sworn and notarized assumed name certificate Bitgood and Ms. Norman filed

in the Fort Bend County Clerk’s Office and the registration of a limited liability partnership

that Bitgood filed in the Office of the Secretary of State. 22

23.        On June 24, 2022, Bitgood, Jones, and the Bitgood Entity filed their fourth amended

petition to add Lewis Brisbois as a defendant. 23

24.        Against Lewis Brisbois and Mr. Oubre, Bitgood, Jones, and the Bitgood Entity

allege, among other things, that:

           David Oubre … on behalf of Martinez, Sullivan, and Imperial conduct[s]
           business in Fort Bend County, Texas using the [Bitgood Entity’s] name
           in an illegal and unauthorized manner reasonably calculated to create
           mass confusion and damage [the Bitgood Entity] . 24

                                                     ---

           Plaintiffs [in the underlying lawsuit] would further show that Martinez and
           Sullivan … contracted with, and aided, abetted, and encouraged Oubre …
           to file pleadings and papers in the Courts of Fort Bend County, Texas, using
           the [Bitgood Entity]—an act they were not authorized to do—as the name

20
     Id.
21
     Exhibit 5, 3d Am. Pet.
22
  Id., pp. 14-16. Notably, Bitgood’s registration of the Bitgood Entity as an “LLP” contradicts Bitgood and
Ms. Norman’s sworn statement that the “registrant is not a … limited liability partnership” in their notarized
assumed name certificate. Compare Ex. 5, pp. 14-15 with p. 16.
23
   Exhibit 8, 4th Am. Pet., dated June 24, 2022. The Fourth Amended Petition is currently the operative
pleading in the underlying lawsuit.
24
     Id., ¶ 2 (emphasis added)



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            Lewis Brisbois belongs to the [Bitgood Entity], not the defendants or their
            coconspirators. 25

                                                ---

            Clearly, there cannot be a Plaintiff named Lewis, Brisbois, Bisgaard &
            Smith LLP … and a set of imposters, Oubre … signing [his] name[] to
            pleadings and documents without the consent of the [Bitgood Entity]. This
            is tantamount to the [Bitgood Entity] suing itself … . For these reasons,
            [Bitgood, Jones, and the Bitgood Entity] seek both a temporary and
            permanent injunction to enjoin all the defendants from using the [Bitgood
            Entity’s] name anywhere in the State of Texas, along with all the proceeds
            that were billed and collected by the phony Lewis Brisbois since May 26,
            2022, along with a declaration that the phony Lewis Brisbois has no
            partnership, limited or otherwise in the State of Texas. 26

Bitgood and Jones further allege that:

            the phony Lewis Brisbois voluntarily gave up its right to do business in
            Texas under that name, when despite repeated warnings from the Secretary
            of State directed at Oubre, and to its California office to renew, Oubre did
            nothing, as the Secretary of State allowed him to surrender the name, and
            allowed the foreign LLP to expire, thereby allowing the domestic LLP to be
            formed, registered and approved by the Texas Secretary of State. Like any
            other race in the world, the first to the “finish line” is declared the
            “winner” by the Secretary of State. 27

25.         Contrary to Bitgood, Jones, and the Bitgood Entity’s allegations, Lewis Brisbois is

registered to do business in the State of Texas and Lewis Brisbois’s current registration

pre-dates Bitgood’s registration of the Bitgood Entity. However, that issue is immaterial to

Defendants’ infringement upon Lewis Brisbois’s trademark rights.

26.         As discussed supra, Lewis Brisbois has since 2002 conducted business as “Lewis

Brisbois Bisgaard & Smith, LLP,” “Lewis Brisbois Bisgaard & Smith,” “Lewis Brisbois,”

and “LBBS,” and Lewis Brisbois is the owner and senior user of the mark “LEWIS



25
     Id., ¶ 22(f) (emphasis added).
26
     Id., ¶ 23.
27
     Id., ¶ 23 n.7 (emphasis added).



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BRISBOIS BISGAARD & SMITH,” and the owner and senior user of the registered marks

“LB” and “LB LEWIS BRISBOIS.” 28




                                                       29
                                                            For example, Defendants have begun

corresponding and filing court documents using the following letterhead:




                                                                                      30


28.        In an effort to avoid the necessity of this suit, Lewis Brisbois requested that

Defendants desist in their fraudulent and infringing conduct.” 31 Defendants refused to do

so and, instead, on September 23, 2022, Bitgood sent an email with the subject line “NOT

AFFILIATED WITH ‘LEWIS & BOBO’ A CALIFORNIA FOREIGN LLP” to Lewis

Brisbois. 32 In the email, Bitgood states:




28
     Exs. 1-3.
29
     Tex. Bus. Orgs. Code § 4.008.
30
  See Exhibit 9, Letter dated September 19, 2022; Exhibit 10, “Soft” Objections/Motion to Strike
[Underlying] Defendant’s “Original” Answer, filed in underlying lawsuit on September 22, 2022.
31
     Exhibit 11, Letter dated September 16, 2022.
32
     Exhibit 12, Email dated September 23, 2022, including images attached thereto.



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         This should “cool” Jana Lubert’s “jets” until I can get to “Little” Billy
         Helfand, and Bennett Fisher next week---no possible name confusion at all,
         we are not that incompetent, all they have to do is like "Doc Holiday" said
         in “Tombstone”: “SAY WHEN”!-- and say otherwise, thereby holding
         open the door in court for me to put on evidence to the contrary! “Don’t be
         a daisy” Bennett & Billy, just “SAY WHEN”!--see the back of the card!

Bitgood attached the following images to his email of September 23, 2022:




29.      As a direct result of Defendants’ deceitful, fraudulent, and unlawful conduct, Lewis

Brisbois has suffered and will continue to suffer irreparable harm and injury that cannot be

fully compensated by money damages, including harm to Lewis Brisbois’s goodwill,

reputation, and lost prospective business relationships.




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                                              Causes of Action
               Trademark Infringement under 15 U.S.C. § 1114 and Texas Law

30.        Lewis Brisbois is the owner and senior user of the “LEWIS BRISBOIS

BISGAARD & SMITH, LLP,” “LEWIS BRISBOIS BISGAARD & SMITH,” and

“LEWIS BRISBOIS” word marks, and the owner and senior user of the service mark

“LEWIS BRISBOIS BISGAARD & SMITH,” and the owner and senior user of the

registered service marks “LB” and “LB LEWIS BRISBOIS.” 33 Lewis Brisbois has

continuously used the Lewis Brisbois marks to market, promote, and solicit legal services

throughout the United States.

31.        Lewis Brisbois’s use of the Lewis Brisbois marks pre-dates by twenty (20) years

Defendants’ use of “Lewis Brisbois Bisgaard & Smith, LLP” and “Lewis Brisbois Bisgaard

& Smith” to promote, market, advertise, and conduct their purported “mediation and

related services” business.

32.        The Lewis Brisbois marks are legally protectable, and Lewis Brisbois has the

exclusive right to use the Lewis Brisbois marks in commerce.

33.        Defendants have actual knowledge that Lewis Brisbois is the owner and senior user

of the Lewis Brisbois marks, including the service marks “LB” and “LB LEWIS

BRISBOIS,” which are each registered with the United States Patent and Trademark

Office. Nonetheless, Defendants persist in their wholly unauthorized use of “Lewis

Brisbois Bisgaard & Smith, LLP” and “Lewis Brisbois Bisgaard & Smith” to promote,

market, advertise, and conduct their purported “mediation and related services” business,

including arbitration.



33
     Exs. 1-3. Lewis Brisbois refers collectively to these word and service marks as the “Lewis Brisbois marks.”



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34.      Defendants’ unauthorized use of Lewis Brisbois’s marks in connection with the

marketing, promotion, or advertising of Defendants’ “mediation and related services” is

likely to cause confusion and mistake, and is likely to deceive the public, including state

and federal courts, and Lewis Brisbois’s clients, prospective clients, employees, and

adversaries, by suggesting some affiliation, connection, or association between Lewis

Brisbois and Defendants when there is no such connection.

35.      Defendants’ actions, as described above, constitute trademark infringement in

violation of the Lanham Act, 15 U.S.C. §1114(1).

36.      Defendants’ unauthorized use of the Lewis Brisbois marks has been willful and

undertaken with constructive and actual knowledge of Lewis Brisbois’s ownership of the

Lewis Brisbois marks.

37.      Alternatively, even if Defendants’ unauthorized use of the Lewis Brisbois marks

has not been willful nor undertaken with constructive and actual knowledge of Lewis

Brisbois’s ownership of the registered marks, Defendants unauthorized use of the Lewis

Brisbois marks has been careless or negligent.

             Trade Name Infringement under 15 U.S.C. § 1125 and Texas law

38.      Lewis Brisbois is a national law firm which, since 2002, has continuously

conducted business under the name “Lewis Brisbois Bisgaard & Smith, LLP,” “Lewis

Brisbois Bisgaard & Smith,” “Lewis Brisbois,” and “LBBS.” Lewis Brisbois has

continuously used these names to conduct business in the State of Texas since 2009.

39.      Lewis Brisbois’s use of the names “Lewis Brisbois Bisgaard & Smith, LLP,”

“Lewis Brisbois Bisgaard & Smith,” “Lewis Brisbois,” and “LBBS” pre-dates by more

than twenty (20) years Defendants’ use of “Lewis Brisbois Bisgaard & Smith, LLP” and

“Lewis Brisbois Bisgaard & Smith.”


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40.      Defendants’ unauthorized use of Lewis Brisbois’s names to promote, market,

advertise, and conduct Defendants’ purported “mediation and related services” business is

likely to cause confusion and mistake, and is likely to deceive the public, including state

and federal courts, and Lewis Brisbois’s clients, prospective clients, employees, and

adversaries, by suggesting some affiliation, connection, or association between Lewis

Brisbois and Defendants when there is no such connection.

41.      Defendants’ unauthorized use of Lewis Brisbois’s name constitutes trade name

infringement in violation of the Lanham Act, 15 U.S.C. § 1125(a).

42.      Defendants’ unauthorized use of Lewis Brisbois’s name is willful and untaken with

constructive and actual knowledge that Lewis Brisbois is the senior user of its name.

                   Unfair Competition under 15 U.S.C. § 1125 and Texas law

43.      Defendants’ unauthorized use of Lewis Brisbois’s trademarks and name to

promote, market, advertise, and conduct Defendants’ purported “mediation and related

services” business is likely to cause confusion and mistake, and is likely to deceive the

public, including state and federal courts, and Lewis Brisbois’s clients, prospective clients,

employees, and adversaries, by suggesting some affiliation, connection, or association

between Lewis Brisbois and Defendants when there is no such connection.

44.      As a direct and proximate result of Defendants’ unauthorized use of Lewis

Brisbois’s trademarks and name to conduct “mediation and related services,” Defendants

have gained a special competitive advantage without the burden of time, labor, skill, or

monetary expense, and Defendants have likely caused and will likely continue to cause

confusion between Lewis Brisbois and the Bitgood Entity.

45.      Defendants’ actions constitute unfair competition in violation of the Lanham Act,

15 U.S.C. §1125(a) and Texas law for which Lewis Brisbois has been damaged.


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Accordingly, Lewis Brisbois seeks recovery under 15 U.S.C. §1117 of Defendants’ profits,

monetary damages, including lost business, profits, and revenue, Lewis Brisbois has

sustained by Lewis Brisbois, the costs of this action, and any other damages permitted by

federal and state law.

46.           Additionally, Defendants’ actions have caused and will continue to cause Lewis

Brisbois to suffer irreparable harm and injury that cannot be fully compensated by money

damages.

                                                 Fraud

47.           On May 2, 2022, Bitgood and Ms. Norman filed a sworn and notarized assumed

name certificate identifying the Bitgood Entity as an “individual” and “further state[d] that

this registrant is not a limited partnership, limited liability company, limited liability

partnership, or foreign filing entity.” 34

48.           On May 26, 2022, Bitgood signed his registration of a limited liability partnership

for the Bitgood Entity “subject to the penalties imposed by law for the submission of a

materially false or fraudulent instrument.” 35

49.           On June 1, 2022, Mr. Beers, acting in the capacity of attorney-in-fact of the Bitgood

Entity, filed an assumed name certificate identifying the Bitgood Entity’s assumed name

as “Lewis Brisbois Bisgaard & Smith.” Mr. Beers signed the assumed name certificate

“subject to the penalties imposed by law for the submission of a materially false or

fraudulent instrument.” 36




34
     Ex. 5, pp. 14-15 (emphasis in original).
35
     Ex. 6.
36
     Ex. 7.



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50.      In each of the foregoing instances, Bitgood, Ms. Norman, and Mr. Beers acted

willfully, deceitfully, and maliciously by filing with the Fort Bend County Clerk and Office

of the Secretary of State documents containing material and false representations

Defendants have used and continue to use to infringe upon and usurp Lewis Brisbois’s

intellectual property, name, goodwill, and reputation.

51.      As a result of Defendants’ knowingly false representations to the Fort Bend County

Clerk and Secretary of State for the State of Texas, and the court in the Imperial Lofts case,

Defendants have caused Lewis Brisbois to suffer damages in the amounts within the

jurisdictional limits of this Court.

                        Conspiracy to Infringe upon Lewis Brisbois’s
                        Trademarks and Name, and to Commit Fraud

52.       Defendants, Bitgood, Jones, Ms. Norman, and Mr. Beers actively and fraudulently

conspired together to unlawfully organize, register, conduct business, and file suit using

Lewis Brisbois’s name and trademarks. The purpose of Defendants’ unlawful and

fraudulent conduct was to infringe upon and usurp Lewis Brisbois’s intellectual property,

name, goodwill, and reputation. Accordingly, each Defendant is jointly and severally liable

for with each other Defendant for Lewis Brisbois’s damages.

                            Application for Injunctive Relief by
                   Temporary Restraining Order and Preliminary Injunction

53.      Lewis Brisbois seeks a temporary restraining order, preliminary injunction, and

permanent injunction against Defendants under Rule 65 of the Federal Rules of Civil

Procedure. Specifically, Lewis Brisbois seeks to enjoin Defendants and their agents and

representatives from using Lewis Brisbois’s trademarks and Lewis Brisbois’s name or any

confusingly similar names because Defendants’ unlawful activity infringes upon Lewis

Brisbois’s trademarks and trade name.


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54.        A party who seeks a preliminary injunction must establish four elements: (i) a

substantial likelihood of success on the merits, (ii) a substantial threat of irreparable injury

if the injunction is not issued, (iii) the threatened injury, if the injunction is denied,

outweighs any harm that will result if the injunction is granted, and (iv) the grant of an

injunction will not disserve the public interest. Texans for Free Enter. v. Tex. Ethics

Comm’n, 732 F.3d 535, 536-37 (5th Cir. 2013). Lewis Brisbois can establish each of these

elements.

           Lewis Brisbois has a substantial likelihood of success on the merits

55.        Lewis Brisbois is the owner of the “LEWIS BRISBOIS BISGAARD & SMITH”

mark, and the owner of the registered marks “LB” and “LB LEWIS BRISBOIS.” Since

2002, Lewis Brisbois has continuously used the Lewis Brisbois marks to market, promote,

and solicit legal services throughout the United States. 37 Lewis Brisbois is also the senior

user of the names “Lewis Brisbois Bisgaard & Smith, LLP,” “Lewis Brisbois Bisgaard &

Smith,” and “Lewis Brisbois.” Lewis Brisbois has used its trademarks and name in

commerce since 2002, more than 20 years before Bitgood unlawfully registered and

Defendants started doing business under the names “Lewis Brisbois Bisgaard & Smith,

LLP” and “Lewis Brisbois Bisgaard & Smith.”

56.        Nonetheless, Bitgood’s unlawful registration of the Bitgood Entity and Defendants’

unauthorized commercial use of Lewis Brisbois’s trademarks and name to conduct

“mediation and related services” is likely to cause confusion and mistake, and is likely to

deceive the public, including state and federal courts, and Lewis Brisbois’s clients,

prospective clients, employees, and adversaries, by suggesting some affiliation,


37
     Exs. 1-3.



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connection, or association between Lewis Brisbois and Defendants when there is no such

connection.

57.        Further, through Bitgood’s unlawful registration of the Bitgood Entity and

Defendants’ unauthorized commercial use of Lewis Brisbois’s name to conduct “mediation

and related services,” Defendants have gained a special competitive advantage without the

burden of time, labor, skill, or monetary expense, and Defendants have likely caused and

will likely continue to cause confusion between Lewis Brisbois and the Bitgood Entity.

58.        While evidence of actual confusion need not be present to find a likelihood of

confusion, Lewis Brisbois has evidence of confusion. 38 However, there is no association

or connection between Lewis Brisbois and the Bitgood Entity. Actual confusion can be

supported by a single instance of actual confusion. Further, while no proof of actual

confusion is necessary, an almost overwhelming amount of proof is needed for Defendants

to refute evidence of actual confusion.

59.        Because Lewis Brisbois’s name is legally protectable and Defendants’ unlawful

business practices are likely to cause confusion, Lewis Brisbois can show a substantial

likelihood of success on the merits of its claims.

           There is a substantial threat of irreparable injury if the Court does not grant
           Lewis Brisbois the injunctive relief it seeks.

60.        If the Court does not grant Lewis Brisbois a temporary restraining order and

preliminary injunction, Defendants will likely continue their activities that infringe upon




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     Exs. 9, 10, and 12.



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Lewis Brisbois’s name to irreparably and incalculably impair Lewis Brisbois’s goodwill,

reputation, and legitimate use of its own name.

61.      Lewis Brisbois will suffer irreparable injury if the Court does not enjoin Defendants

from using Lewis Brisbois’s name to, among other things: provide “mediation and related

services” related to the legal services Lewis Brisbois provides its clients nationally and

throughout Texas; and, use Lewis Brisbois’ name to falsely represent to clients or courts

of law that the Bitgood Entity is the same as, or affiliated with, Lewis Brisbois.

62.      The requisite injury for an injunction against infringement is presumed when one

proves a likelihood of confusion. Money damages are inadequate to compensate a trade

name holder for an infringer’s continuing acts, including Bitgood’s unlawful registration

of and Defendants’ use of Lewis Brisbois’s name in commerce.

63.      Irreparable harm results when the holder of a trade name cannot control the quality

of the infringer’s services. Lewis Brisbois will suffer irreparable harm in the form of loss

of goodwill and damage to its reputation, both of which can be traced to loss of control

over Defendants’ services. This loss of control constitutes immediate irreparable harm.

64.      Because a likelihood of confusion exists, Lewis Brisbois’ inability to control the

quality of Defendants’ services constitutes an immediate and irreparable injury, regardless

of the actual quality of Defendants’ services.

65.      Because Defendants’ commercial use of Lewis Brisbois’s name creates a likelihood

of confusion, irreparable harm is presumed. Nonetheless, the harm to Lewis Brisbois’s

goodwill is already apparent through an order dated September 13, 2022 disqualifying

Lewis Brisbois and David as counsel the underlying lawsuit. Lewis Brisbois faces a




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substantial threat of irreparable harm if the Court does not issue a temporary restraining

order and preliminary injunction against Defendants.

         The potential injury to Lewis Brisbois if an injunction is not granted outweighs
         any harm to Defendants

66.      Defendants will not suffer undue hardship or loss as a result of the issuance of a

temporary restraining order or preliminary injunction because Defendants’ organization of

the Bitgood Entity using the Lewis Brisbois marks and a name identical to Lewis Brisbois’s

name violates federal and state law. Further, Defendants have only recently adopted Lewis

Brisbois’s name and Defendants cannot show Defendants inability to use this name will

harm Defendants in any manner.

67.      Further, in cases where, as here, defendants improperly or unlawfully use a

plaintiff’s trade name, the threatened harm to the plaintiff outweighs the threatened harm

to the defendants if the court does not grant an injunction.

         Issuing a temporary restraining order and preliminary injunction against
         Defendants will not—and indeed cannot—disserve the public interest

68.      The public interest always is served by requiring compliance with Congressional

statutes such as the Lanham Act and by enjoining the use of infringing and unlawfully

trademarks and names. Protecting Lewis Brisbois in this case from an infringing and

deceitful adversary and preventing client confusion in the legal marketplace does not

disserve the public’s interest.

69.      The public interest promotes protecting trade names in a capital-based economy

that rewards success through competition. The public also has interest in not being

deceived into believing it is obtaining “mediation and related services” from Lewis

Brisbois because Defendants are using Lewis Brisbois’s trademarks and name in violation

of federal and state law and without Lewis Brisbois’s authorization.


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70.      Lewis Brisbois asks the Court to issue ex parte a temporary restraining order and

set Lewis Brisbois’s request for preliminary injunction for hearing at the earliest possible

time and, after hearing the request, to issue a preliminary injunction against Defendants.

                                     Conditions Precedent

71.      All necessary conditions precedent have been performed or have occurred to entitle

Lewis Brisbois to the relief it seeks.

                                             Prayer

         Lewis Brisbois respectfully requests this Court award the following relief:

         a.        A temporary restraining order, temporary injunction, and permanent
                   injunction against Defendants, including the mandatory dissolution of the
                   Bitgood Entity, currently registered as the domestic limited liability
                   partnership known as “Lewis Brisbois Bisgaard & Smith, LLP”;

         b.        Judgment against Defendants for actual damages, disgorgement of profits,
                   or statutory damages against Defendants, including enhanced damages for
                   Defendants’ willful and intentional infringement of Lewis Brisbois’s
                   trademarks;

         c.        Judgment against Defendants for treble damages arising from Defendants’
                   willful violation of the Lanham Act;

         d.        Judgment against Defendants for reasonable and necessary attorneys’ fees
                   for trial and, if necessary, for appeal;

         e.        Judgment against Defendants for costs of Court;

         f.        Judgment against Defendants for pre-judgment and post-judgment interest
                   at the highest rate allowed by law; and for

         g.        Such other and further relief, general and special, at law or in equity, to
                   which Lewis Brisbois may show itself to be justly entitled.




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         Dated: September 23, 2022          Respectfully submitted,

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                                 Certificate of Service

       I certify a true and correct copy of the foregoing document has been served on all
counsel of record by electronic filing on September 23, 2022

                                            / s / William S. Helfand
                                            William S. Helfand




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